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                IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF OKLAHOMA

PROGRESSIVE NORTHERN                            )
INSURANCE COMPANY,                              )
                                                )
                      Plaintiff,                )
vs.                                             )           NO. CIV-09-0478-HE
                                                )
JAMES L. BATESEL, ET AL.,                       )
                                                )
                      Defendants.               )

                                            ORDER

       Plaintiff Progressive Northern Insurance Company (“Progressive”) filed this action

against James L. Batesel, his employer, Trinity Brick Sales, Inc. and Trinity Brick Sales,

LLC (collectively “Trinity Brick”), and Trinity Brick’s insurer, State Auto Property and

Casualty Insurance Company. Plaintiff seeks contribution for defendants’ alleged pro rata

share of a settlement amount paid to Carroll Kinney, who was injured in a collision with

Progressive’s insured, David Payne. Plaintiff claims Batelsel was partially responsible for

the accident.         Defendants have filed a motion for summary judgment contending they

are not liable for contribution because Batesel’s conduct, if negligent, was not a proximate

cause of the collision and Ms. Kinney’s injuries, but merely created a condition.1 They also

argue that plaintiff is barred from seeking contribution from them because Ms. Kinney may

have been partly responsibility for the accident.

       The facts pertinent to the resolution of defendants’ motion are not disputed. Around


       1
        Although plaintiff addresses the issue of whether Trinity Brick, based on its own conduct
and not that of Batesel, is entitled to summary judgment, the defendants did not distinguish among
themselves in their motion as far as their potential liability for contribution.
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8:30 a.m. on November 14, 2005, Batelsel was delivering a load of bricks to a construction

site in a residential area in Edmond, Oklahoma. He planned to enter the housing addition by

turning off of Coltrane Road onto Oakdale Forrest Road, a private road which led into the

neighborhood. When he reached Oakdale Forrest Road, Batelsel realized the community was

gated and the gate was closed. He knew before he turned that he would need an access code

to open the gate. When he pulled up to the gate he was “pretty sure” his truck would

partially block the southbound lane of Coltrane, which it did.2 Different experts have

estimated that his truck extended between 4.5 and 6.25 feet into the southbound lane.3

Batelsel expected that traffic headed south on Coltrane would see his truck and go around

it.

       While Batelsel was attempting to call and get a gate code, Ms. Kinney, who was

exiting the subdivision, offered to help him by using the remote opener in her car. She

realized, though, that she was going to have to turn her car around to open the gate. Batesel

climbed back into his truck while she proceeded to cross Coltrane to head her car back into

the subdivision. As she pulled out onto the road, before she had completed her turn, her

vehicle was stuck on the driver’s side by a dump truck driven by David Payne. He had been

heading south on Coltrane, had seen Batelsel’s vehicle partially blocking his lane and had

pulled around it, entering into the oncoming lane of traffic.

       2
       The evidence as to Batelsel’s options, including his ability to pull onto the shoulder of
Coltrane and wait until he could get the gate opened, is disputed.
       3
       In their brief, defendants state that Batesel left “only 6.25 feet of the rear of his trailer
overhanging the edge of the southbound lane of Coltrane.” Defendants’ brief, p. 1.

                                                 2
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       Ms. Kinney sued plaintiff’s insureds and defendants in state court. She eventually

entered into a settlement agreement with Progressive which released her claims against all

parties, but the agreement reserved Progressive’s right to seek contribution or indemnity from

defendants. Progressive paid the total amount of the settlement.

Causation

       Defendants claim Batelsel’s parked truck merely furnished a condition which enabled,

rather than caused, the accident. To resolve the issue the court has considered “[t]he general

rule ... that an intervening force which could reasonably have been foreseen or which is a

normal incident of the risk created will not suffice to relieve an original tortfeasor of

liability,” Atherton v. Devine, 602 P.2d 634, 635-36 (Okla. 1979), and various Oklahoma

decisions defendants cite involving negligently parked cars.4 The parked car cases generally

involve rear end collisions in which one motorist saw the parked vehicle, stopped and then

was rear ended by a third vehicle, e.g., Vogt v. General Telephone Co. of the Southwest,413

F.Supp. 4, 8 (E.D. Okla. 1975) (“The facts in the instant case clearly are akin to those present

in Beesley, [364 F.2d 194 (10th Cir. 1966)] and Haworth, [395 F.2d 566 (10th Cir. 1968)],

cases wherein an automobile had come to a complete stop behind a purportedly illegally

stopped vehicle and was thereafter struck from the rear by an automobile driven by a third




       4
         The“completed tort” language the defendants cite was dicta in Atherton, 602 P.2d at 636
n.3, and, though mentioned in Jackson, 907 P.2d at 1073 n.31, is contrary to the court’s decision
in that case that “the Officer’s primary negligence nonetheless presents a question for the trier.”
 Id. at 1072.

                                                3
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party.”),5 or situations in which the motorist who collided with the parked vehicle could have

seen it in time to stop if he had been paying attention. Evans v. Caldwell, 429 P.2d 962, 964

(Okla. 1967); Mote v. Hilyard, 358 P.2d 844, 845 (Okla. 1961); Sturdevant v. Kent, 322

P.2d 408, 410 (Okla. 1958). The holding in those cases would have applied if Payne had

seen Batelsel’s truck, stopped and then been rear-ended by a third vehicle, or if Payne had

simply run into Batelsel’s truck. However, that is not what happened here.

       The circumstances of the accident involved in this lawsuit are more akin to those

found in cases such as Bannister v. Noble, 812 F.2d 1265 (10th Cir. 1987), Dirickson v.

Mings, 910 P.2d 1015 (Okla. 1996), Jackson v. Jones, 907 P.2d 1067 (Okla. 1995) and Long

v. Ponca City Hospital, Inc., 593 P.2d 1081 (Okla. 1979), in which the courts have concluded

that the jury should determine whether the second of two negligent acts was reasonably

foreseeable, so that the first was a proximate cause of the resulting injuries and not a mere

condition. A jury could conclude, based on the evidence before the court, that the actions

of both Payne and Ms. Kinney might reasonably have been expected to occur. Batelsel

himself anticipated that vehicles would go around his truck, which would require their

crossing over into the other lane of traffic.         While Payne would have been able to see



       5
        In support of its decision, the district court quoted from Temples v. Stark, No. 74-1565 (10th
Cir. 1975) (unpublished), in which the Tenth Circuit had explained why in several cases, including
Haworth, 395 F.2d at 566 and Beesley, 364 F.2d at 194, it had found a parked car created a
condition that set the stage for a subsequent collision: “‘In both Haworth and Beesley, vehicles
came to safe stops behind the original parked vehicle and this was held, under those facts, to have
made the original negligence remote.’” Vogt, 413 F.Supp. at 8 n.2.



                                                  4
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vehicles approaching from the south, Batelsel’s truck could have obscured cars, such as Ms.

Kinney’s, which were exiting the neighborhood. As a jury could find that the collision in

question could have been foreseen as the probable result of Payne’s decision to partially

block the road with his truck, the court cannot conclude, as a matter of law, that Payne and

Ms. Kinney’s actions were unforeseeable, intervening acts. See Bannister, 812 F.2d at 1267

(“Where there is a question as to whether an intervening act is the proximate cause of an

injury to the exclusion of a prior wrongful act alleged to have merely created a condition, the

question is ordinarily one of fact for determination by a jury.”) (internal quotations omitted).

Contribution

       As an alternative basis for summary judgment, defendants contend that Oklahoma law

does not allow Progressive to seek contribution from them because the plaintiff was partially

at fault.6 Defendants rely on Oklahoma’s statutes pertaining to comparative negligence and

joint and several liability.    They ignore Oklahoma’s Uniform Contribution Among

Tortfeasors Act, 12 Okla. Stat. 832, which clearly permits Progressive to seek contribution

from them. Defendants’ estoppel argument is similarly unfounded, both legally and

factually.

       Accordingly, defendants’ motion for summary judgment [Doc. #43] is DENIED.

Plaintiff’s motion to file sur-reply brief [Doc. #61] is STRICKEN as MOOT.


       6
        In its response Progressive incorporates by reference its response to a discovery motion.
As such incorporations allow a party to exceed the page limitations set by the local rules they
generally are not permitted. The court has, however, considered the designated pages of the prior
pleading.

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IT IS SO ORDERED.

Dated this 26th day of March, 2010.




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